The question raised by this motion is whether the Superior Court has exclusive jurisdiction *Page 499 
of matters involving support for minor children subsequent to a foreign decree of divorce or whether such an action may be maintained in the Court of Common Pleas.
There appear to be no Supreme Court cases directly in point but the Court of Common Pleas has equitable jurisdiction and, historically, has heard and decided such matters. Broderick v. Broderick,7 Conn. Sup. 60; Przybylo v. Przybylo, 13 Conn. Sup. 474.
Certainly if the minor were a nonresident and the defendant a resident, the Court of Common Pleas would have jurisdiction under the provisions of the Uniform Reciprocal Support Act. General Statutes §§ 17-327 — 17-355b.
   The motion to erase is denied.